            Case 2:20-cr-00069-CJC Document 192 Filed 05/12/23 Page 1 of 1 Page ID #:1619
                                                                                                     FILED -SOUTHERN DIVISION
Submit this form bye-mail to:                                                                        CLERK, U.S. DISTRICT COURT

CrimIntakeCourtDocs-LA@cacd.uscourts.gov For Los Angeles criminal duty.                                    ~~ ~ r~ r~Or)~
                                                                                                              [L L
CrimIntakeCourtDocs-SA@cacd.uscourts.gov For Santa Ana criminal duty.

CrimIntakeCourtDocs-RS@cacd.uscourts.gov For Riverside criminal duty.                               CENTRAL DISTRICT OF CALIFORNIA

                                              UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

                                                                          CASE NUMBER:
UNITED STATES OF AMERICA                                                                        2:20-CR-00069-CJC-1
                                                          PLAINTIFF
                    V.

                                                                                 REPORT COMMENCING CRIMINAL
Melinda Romines
                                                                                                  ACTION
USMS# 79277-112                                         DEFENDANT


TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on 05/12/2023                    at 1000        Q AM ❑ PM
     or
     The defendant was arrested in the                      District of                    on            at          ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes        Q No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                  0 Yes      ❑ No

4. Charges under which defendant has been booked:

     18 USC 3148

5. Offense charged is a:         ~ Felony           ❑Minor Offense             ❑Petty Offense          ❑Other Misdemeanor

6. Interpreter Required:         0 No        ❑Yes          Language:

7• Year of Birth: 1978

8. Defendant has retained counsel:                ~ No
    ❑ Yes         Name:                                                          Phone Number:

9• Name of Pretrial Services Officer notified: Duty Officer

10. Remarks (if any):

1 1. Name: A. CASTILLO                                             (please print)

12. Office Phone Numbe            14-     -4610                                     13• Agency: United States Marshals Service

14. Signature:                                                                      15• Date: 05/12/2023
                   i
CR-64(09/20)                                      REPORT COMMENCING CRIMINAL ACTION
